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Nonetheless, the parties agreed to resolve this matter informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court adopts the
parties’ stipulation, attached, and awards compensation in the amount and on the terms set forth
in the stipulation.

       Pursuant to the stipulation, the court awards a lump sum of $75,000.00, representing
compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a) (2012).
The award shall be in the form of a check for $75,000.00 made payable to petitioners as legal
representatives of J.M.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment. 2


IT IS SO ORDERED.


Dated: April 24, 2017                                                      s/ Laura D. Millman
                                                                              Laura D. Millman
                                                                               Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
_______________________________________
                                        )
JASON MCDUNN and                        )
ELYSIA MCDUNN, on behalf of             )
J.M., a minor child,                    )
                                        )
                          Petitioners,  )
                                        )
               v.                       ) No. 16-91V
                                        ) Special Master Millman
SECRETARY OF HEALTH AND HUMAN           ) ECF
SERVICES,                               )
                                        )
                          Respondent.   )
_______________________________________)


                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. On behalf of their son, J.M., petitioners filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 to -34 (the

“Vaccine Program”). The petition seeks compensation for injuries allegedly related to J.M.’s

receipt of an influenza (“flu”) vaccine, which vaccine is contained in the Vaccine Injury Table

(the “Table”), 42 C.F.R. § 100.3 (a).

       2. J.M. received his immunization on September 26, 2014.

       3. The vaccine was administered within the United States.

       4. Petitioners allege that the flu vaccine caused J.M. to develop Guillain-Barre Syndrome

(“GBS”), and that J.M. experienced residual effects of this injury for more than six months.

       5. Petitioners represent that there has been no prior award or settlement of a civil action

for damages on behalf of J.M. as a result of his condition.




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        6. Respondent denies that the vaccine caused J.M.’s GBS or any other injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment for all damages that would be available under 42

U.S.C. §300aa-15(a):

        A lump sum of $75,000.00 in the form of a check payable to petitioners, as legal
        representatives of J.M. This amount represents compensation for all damages that would
        be available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioners have filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys’ fees and costs incurred in proceeding upon this

petition.

        10. Petitioners and their attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. §

1396 et seq.)), or by entities that provide health services on a pre-paid basis.




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        11. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 12 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i),

subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys’ fees and litigation costs, the money provided pursuant to this Stipulation will be

used solely for the benefit of J.M. as contemplated by a strict construction of 42 U.S.C. §300aa-

15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioners, in their

individual capacities and as legal representatives of J.M., on behalf of themselves, J.M., and his

heirs, executors, administrators, successors or assigns, do forever irrevocably and

unconditionally release, acquit and discharge the United States and the Secretary of Health and

Human Services from any and all actions or causes of action (including agreements, judgments,

claims, damages, loss of services, expenses and all demands of whatever kind or nature) that

have been brought, could have been brought, or could be timely brought in the Court of Federal

Claims, under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300 aa-10 et

seq., on account of, or in any way growing out of, any and all known or unknown, suspected or

unsuspected personal injuries to or death of J.M. resulting from, or alleged to have resulted from,

the vaccination administered on September 26, 2014, as alleged by petitioners in a petition for

vaccine compensation filed on or about January 19, 2016, in the United States Court of Federal

Claims as petition No. 16-91V.

        14. If J.M. should die prior to entry of judgment, this agreement shall be voidable upon

proper notice to the Court on behalf of either or both of the parties.




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       15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused J.M. to suffer GBS or any

other injury or condition.

       18. All rights and obligations of petitioners hereunder shall apply equally to petitioners’

heirs, executors, administrators, successors, and/or assigns as legal representatives of J.M.

                                     END OF STIPULATION

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